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Defendant’s Exhibits
1 through 6

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MAGISTRATE JUDGE MAR
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UNITED STATES DISTRICT cour”
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fall Number _ Date Time Case Number = Target Contact ID Direction Duration Record Flag Call Type
363 08/09/2019 11:17:43 11-17-0114 (305) 833-6886 (310) 919-9706 Incoming 00:00:00 Pertinent Text
YMOPSES: Tyson to Bustamante |
Text: I shud have Barclays POF for 500m in 2 hour |
[End of Message]
L. Gonzalez |
15367 08/09/2019 11:41:25 11-17-0114 (305) 833-6886 (419) 306-0100 Incoming 00:13:23 Pertinent Voice

 

Jery to Bustamante
[Call already in progress]

Bustamante: That's what they told me that they were waiting for the confirmation yesterday, which they should have gotten already, and
they should be out. So I'll give them a follow up call around 11:00 o'clock,

Jery: Yeah, whatever makes to you. Do you have any inside intel what Randall is up to?

Bustamante; Randall is trying to get money from anywhere that he can because he needs to finish the diamond file. So Ricardo went to
Brasil for father's day, which is this weekend, and he's make the decision, if he doesn't have a contract, then he is gonna walk away from
diamond deal. It's just being taking a very long time. Remember that Randall told us he already had the money for that?

Jery: Yeah, he said he had 720,000 coming if I recall.

Bustamante: Mm-hum,. So it's been dragging on for a few months and no real communication. He doesn't really pay attention to the client.
I'm very much against the mentality of,,. "Well, take it somewhere else." No, even if the other quys are [u/i] and never gets anything done,
the point is that you lost a client and the potential over any money for yourself, So I like to keep clients as close as possible.

Jery: Yeah.

Bustamante: So that's that, but he is also finishing up another contract with a different asses, and I think that was supposed to go into
trading this coming week, I mean, he is trying to move but there is no real opportunity for cash from him. Cause I reminded him, "Hey man,
we need to pay Jery and you also need to pay me for my time dealing with these guys, because it's a lot of work that you haven't done.” He
goes, “Yeah, I'm trying to get some money, but nothing has come through. Everybody say that they're gonna pay us tomorrow and
tomorrow never comes."

Jery: Alright. Well, you are still in full court press mode, right?

Bustamante; Oh, yeah. I'm pressing him, I'm pressing right now the [u/i] server, which should be done by Monday. Hopefully we get that
contract by Monday and we'll be operating this week. They already have the pathway that the money can be in to your account within 24
hours after it's done. It's been a lot of work that we been putting into this and then, I've working on 2 other packages for the trade, which is
the HSBC package that (U/T] is asking about. Rick and I spoke to the guy that's in charge of it today. He needs about 2 more days to finisn it
out, and we should have it by then. And I'm also trying to get another gentlemen that works at Bitro Auto Exchange, should give us a packet
for Dow's program. So he is working on that, and I am hoping to have that by Sunday.

Jery: Okay. On we go.

Bustamante: Jery, I will leave you with a question. How can we get an account that we can process cash, but exit the money more than 48
hours, maximum 72 hours? What do we really need to develop an account like that?

Jery: You need to have source of cash that will get a banker salivating and...
Bustamante: What you mean?

Jery: It's gotta be large enough amounts of money that will be attractive to a bank. Cause they're gonna make money on it. And it's gotta be
on a place where they have some experience with those kind of arrangements, Which would be in one of the states where [u/i] Cannabis is
legal, and has been legal for a while. So maybe Washington State. We are legal in Michigan now. Now, bankers are staying away from this
type of arrangements because they just don't understand them, The compliance issue Is straight forward, I can lay out the compliance issues
for you, and we can see if there is a chance for success or not. I would try to set something like that up, if 1 [Interrupts] the compliance
issues could be solved. You know what those Issues are, it's origin of funds, NI-money laundering, NI-terrorist. No bribes involved, no foreign
assets involved, it's by now a pretty long list. :

Bustamante: If we start an account, let's say like with 5 million dollars would that help with the compliance issue?

Jery: Yes. It would pay the fees necessary to... the client really needs to bet their own money. There are law firms that specialize in these
agricultural industries and I've sent you a couple of intiminly legal education. The reason people do those seminars is to get their name out
there, We just find the best seminar and call one of the lawyers from the panel, and say, "What do you charge for a full compliance betting
of this kind of money?" And in the State of Ohio or the State of California wherever it's gonna be, and they're gonna say 25 or 50 grand, and
tnat's gotta be paid. It's a big project, but they have done it over and over, Is this all US?

Bustamante: This is all US, and we are talking about 300,000 at a time. So It's not gonna be in the millions, but what I'm looking for is to be
able to deposit in any state that there is a branch for that particular bank, be able to process the funds, even if whatever fees we gotta pay.
But be able to exit the funds within 48 hours, 72 hours. You know? Or at least half in 48 hours, then the rest the following day.

Jery: Okay, | understand that. Who are the growers in California using? There is West Bank, is that the name of it?

Bustamante: There is a few banks, but they're still getting really regulated and some of the accounts keep on getting shut down. So the ideal
set up would be for, let's say I use my name, let's say that Eric has his own account, Eric takes a possibility within the bank, all we need to

do is, well technically not even mention the agricultural part, and that's what a lot of banks have been doing right now. They been doing a lot
of underwriting for different type of projects. It just so happens that the deposits happen to be in cash, but they 're not reporting i

  
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